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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    LONDON
                        CIVIL ACTION NO. 6:17-CV-00276-KKC

                               ELECTRONICALLY FILED

UNITED STATES OF AMERICA                                                       PLAINTIFF



v.                                       ORDER


EDDIE FELTNER,
UNKNOWN SPOUSE OF EDDIE FELTNER                                            RESPONDENT

                                      * * * * * *


        The Court having received the Report of Warning Order Attorney for the

Respondents, Eddie Feltner and Unknown Spouse of Eddie Feltner, and being otherwise

sufficiently advised,

        IT IS HEREBY ORDERED AND ADJUDGED as follows:

        1.    The Court accepts the Report of Warning Order Attorney and finds that the

rights of the Respondents, Eddie Feltner and Unknown Spouse of Eddie Feltner have

been adequately protected and that the Respondents have no legal defense to this action;

        2.    Payment in the amount of $200.00 for such services plus the reported

expenses of $23.36 for a total of $223.36 shall be made to Kathryn A. Walton within

ninety days of entry of this Court’s Order, or as otherwise directed by this Court; and
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              3.      Attorney Kathryn A. Walton is hereby released from any further duties in

       this matter.




February 7, 2018
